Case 2:04-cr-20340-.]DB Document 24 Filed 04/28/05 PagelotZ Page|D 26/

lN THE UNITED STATES DlSTRlCT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE "_`_;_14; in 2a s 1 - ga
WESTERN DlVlSION " '

 

 

UNITED STATES OF AMERICA
v.

MICKLE BUFORD No. O4cr20340-Bre

 

ORDER CONTINUING ARRAIGNMENT AND
SPECIFYING PERIOD OF EXCLUDABLE DELAY UNDER THE SPEEDY TRIAL ACT

 

The counsel for the defendant has this day notified the Court that the defendant,
upon order of the court, had previously been transferred to a suitable hospital or facility
selected by the Court of pretrial examination pursuant to 18 U.S.C. § 4241 to determine
defendant's mental competency to stand trial. The court finds that the arraignment should
be continued until a report on defendant's mental competency is received and that the ends
of justice served by such a continuance outweigh the best interest of the public and the
defendant in a speedy trial.

It is therefore ORDERED that pursuant t018 U.S.C. §3161(h)(1)(A) the time period
of jz;/L Z/I§ through r€/Z ?éu_§ be excluded from the

time its imposed by the Speedy Trial Act for trial of this case, While the defendant is under

observation for mental competency

ARRAIGNMENT RESET TO WEDNESDAY, ]UNE 29, 2005 AT 10:00 A.M.
BEFORE MAGISTRATE ]UDGE TU M. PHAM.

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 24 in
case 2:04-CR-20340 Was distributed by f`aX, mail, or direct printing on
Apri129, 2005 to the parties listed.

 

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Honorable .l. Breen
US DISTRICT COURT

